          Case 1:19-vv-01629-UNJ Document 33 Filed 10/16/20 Page 1 of 2




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1629V
                                        UNPUBLISHED


    JAMES COWARD,                                           Chief Special Master Corcoran

                        Petitioner,                         Filed: September 15, 2020
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Tetanus-Diphtheria-acellular
                       Respondent.                          Pertussis Vaccine; Guillain-Barre
                                                            Syndrome (GBS)


Simina Vourlis, Law Offices, Columbus, OH, for Petitioner.

Linda Sara Renzi, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On October 21, 2019, James Coward (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.2 (the “Vaccine Act”). Petitioner alleges that he suffered Guillain-
Barré syndrome (“GBS” as a result of an influenza (“flu”) and tetanus-diphtheria-
acellular pertussis (“Tdap”) vaccines administered on October 3, 2017. Petition at 1.
The case was assigned to the Special Processing Unit of the Office of Special Masters.

      On September 14, 2020, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c)
Report at 1. Specifically, Respondent states that Petitioner has satisfied the criteria set

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
         Case 1:19-vv-01629-UNJ Document 33 Filed 10/16/20 Page 2 of 2




forth in the Vaccine Injury Table (“Table”) and the Qualifications and Aids to Interpretation
(“QAI”). Id. at 5.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




                                             2
